           Case 4:18-cr-40010-TSH Document 81 Filed 04/17/19 Page 1 of 2



                     FEDERAL PUBLIC DEFENDER OFFICE
                                 DISTRICT OF MASSACHUSETTS
                                 51 SLEEPER STREET, 5TH FLOOR
                                 BOSTON, MASSACHUSETTS 02210

                                                                                       TELEPHONE: 617-223-8061
                                                                                             FAX: 617-223-8080



                                                                        April 17, 2019

By email
AUSA Greg A. Friedholm
AUSA John Mulcahy
U.S. Attorney’s Office
Federal Building & Courthouse
595 Main Street, Suite 206
Worcester, MA 01608

                           Re:      United States v. Stacey Gala Perry
                                    Criminal No. 18-cr-40010-TSH

Dear Counsel:

         We write to request the following additional discovery in the above-referenced case:

         1) An updated discovery log. Pursuant to Local Rule 116.10, please include both a
            general description of the type and origin of the documents, and the location of the
            documents so described within the larger set by identifying the Bates numbers for
            each item; 1

       2) The reports or notes of any law enforcement agents which memorialize their
          contemporaneous audio or visual observations of the meeting between Stacey Gala
          Perry and Joseph Herman on September 12, 2017.

         3) Any additional notes, including original handwritten notes not previously provided, of
            the debriefing of Ms. Gala after the September 12, 2017 meeting between her and Mr.
            Herman.




1
  The government provided a discovery log with its production of March 16, 2018. It has not updated that log to
reflect the production of additional discovery on at least three subsequent occasions. In addition, the log does not
specify page numbers for specific documents, instead lumping as many as 500 or more pages into a single category,
such as “GJ transcripts”. This does not comply with the letter or spirit of Rule 116.10, which requires that the
government describe, “in general terms, the type and origin of the documents (for example, “bank records from
Sovereign Bank for John Smith;” “grand jury testimony of Officer Jones”)…”.
           Case 4:18-cr-40010-TSH Document 81 Filed 04/17/19 Page 2 of 2



        4) Any statements of Joseph Herman or Christopher Slavinskas since their latest grand
           jury testimony, which are inconsistent with that testimony or with any other
           statements previously provided; 2

        5) Any and all records or financial documents provided by Joseph Herman or
           Christopher Slavinskas;

        6) Any and all information regarding businesses in which Joseph Herman acquired,
           sought to acquire, or maintained a financial interest from April 2017 to the present
           date;

        7) Tax records of Joseph Herman and Christopher Slavinskas for tax year 2017, or if
           previously provided, please provide the Bates numbers for these records; 3 and

        8) Any information regarding a history of illicit drug use or abuse by Joseph Herman or
           Christopher Slavinskas. 4

Please let us know if you have any questions regarding these requests.


                                                             Sincerely,

                                                             /s/ Miriam Conrad

                                                             /s/ Julie-Ann Olson



cc: Clerk of Court (via ECF)




2
 Acknowledging that Local Rule 116.2(b)(2)(B) requires the government to produce such inconsistent statements
“no later than 21 days before the trial date,” the defendant requests discovery as soon as possible, given the
voluminous discovery in this case and the numerous inconsistent statements of Mr. Herman and Mr. Slavinskas
already provided by the government.
3
 During a recent telephone conference between counsel for the parties, AUSA Friedholm stated that the government
had previously provided tax records for Mr. Herman in discovery. However, after reviewing the government’s
discovery production, defense counsel cannot locate any tax records for Mr. Herman or Mr. Slavinskas.
4
 As noted in n.2, acknowledging that Local Rule 116.2(b)(2) requires the government to produce such discovery
“no later than 21 days before the trial date,” the defendant requests discovery as soon as possible, given the
voluminous discovery in this case.
